                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,

          V.                                                Case No. 22-CR-00035

BLESSING EGBON,

                              Defendant.



                                     PLEA AGREEMENT


         1.    The United States of America, by its attorneys, Richard G. Frohling, United States

Attorney for the Eastern District of Wisconsin, and Gregory J. Haanstad, Assistant United States

Attorney, and the defendant, Blessing Egbon, individually and by attorney Michelle L. Jacobs,

pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into the following plea

agreement:

                                           CHARGES

         2.    The defendant has been charged in three counts of a three-count Inforn1ation,

which alleges violations of Title 18, United States Code, Section 1343.

         3.    The defendant has read and fully understands the charges contained in the

Infonnation. He fully understands the nature and elements of the crimes with which he has been

charged, and those charges and the tenns and conditions of the plea agreement have 'been fully

explained to him by his attorney.

         4.    The defendant voluntarily agrees to waive prosecution by indictment in open

court.




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      5.       The defendant voluntarily agrees to plead guilty to each count set forth in the

Information, a copy of which is attached to this plea agreement as Attachment A.

      6.       The defendant acknowledges, understands, and agrees that he is, in fact, guilty of

the offenses described in Attachment A. The parties acknowledge and understand that if this case

were to proceed to trial, the government would be able to prove beyond a reasonable doubt the

facts set forth in Attachment B. The defendant admits that those facts are true and correct and

that they establish his guilt beyond a reasonable doubt. The facts set forth in Attachment B are

provided for the purpose of setting forth a factual basis for the defendant's plea of guilty. Those

facts are not a full recitation of the defendant's knowledge of, or participation in, these offenses.

                                           PENALTIES

      7.       The parties understand and agree that each of the offenses to which the defendant

will enter a plea of guilty carries a maximum term of twenty years of imprisonment, a maximum

fine of $250,000, and three years of supervised release. Each count also carries a mandatory

special assessment of $100. The parties further recognize that a restitution order will be entered

by the court. The parties' acknowledgments, understandings, and agreements with regard to

restitution are set forth in paragraph 29 of this agreement.

       8.       The defendant acknowledges, understands, and agrees that he has discussed the

relevant statutes as well as the applicable sentencing guidelines with his attorney.

                                            ELEMENTS

       9.       The parties understand and agree that, in order to sustain the wire fraud offense

set forth in each respective count of the Information, the government must prove each of the

following propositions beyond a reasonable doubt:

        First, that the defendant knowingly devised a scheme to defraud or to obtain money;

        Second, that the defendant did so with the intent to defraud;
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       Third, that the scheme to defraud involved a materially false or fraudulent pretense,
       representation, or promise; and

       Fourth, that for the purpose of carrying out the scheme or attempting to do so, the
       defendant caused interstate wire communications to take place in the manner charged in
       the particular count.

                                 SENTENCING PROVISIONS

      10.      The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence report be disclosed not less than 35 days

before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any

objections, to be established by the court at the change of plea hearing.

      11.      The parties acknowledge, understand, and agree that any sentence imposed by the

court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to

the Sentencing Guidelines when sentencing the defendant.

      12.      The parties acknowledge and agree that they have discussed all of the sentencing

guidelines provisions which they believe to be applicable to the offenses set forth in Attachment

A. The defendant acknowledges and agrees that his attorney in turn has discussed the applicable

sentencing guidelines provisions with him to the defendant's satisfaction.

      13.      The parties acknowledge and understand that prior to sentencing the United States

Probation Office will conduct its own investigation of the defendant's criminal history. The

parties further acknowledge and understand that, at the time the defendant enters a guilty plea,

the parties may not have full and complete information regarding the defendant's criminal

history. The parties acknowledge, understand, and agree that the defendant may not move to

withdraw the guilty plea solely as a result of the sentencing court's determination of the

defendant's criminal history.



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                              Sentencing Guidelines Calculations

      14.      The defendant acknowledges and understands that the sentencing guidelines

recommendations contained in this agreement do not create any right to be sentenced within any

particular sentence range, and that the court may impose a reasonable sentence above or below

the guideline range. The parties further understand and agree that if the defendant has provided

false, incomplete, or inaccurate information that affects the calculations, the government is not

bound to make the recommendations contained in this agreement.

                                          Relevant Conduct

      15.      The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating

the sentencing guidelines range, even if the relevant conduct is not the subject of the offenses to

which the defendant is pleading guilty.

                                       Base Offense Level

      16.      The parties agree to recommend to the sentencing court that the applicable base

offense level for the offenses charged in Counts One, Two, and Three is 7 under Sentencing

Guidelines Manual § 2B1.1(a)(1).

                                Specific Offense Characteristics

      17.      The parties agree to recommend to the sentencing court that, because the loss

from the offenses is more than $3,500,000, an 18-level increase under Sentencing Guidelines

Manual § 2B1.1(b)(1)(J) is applicable to the offense level for the offenses charged in the

Information.

      18.      The parties agree to recommend to the sentencing court that, because the offenses

involved ten or more victims, a two-level increase under Sentencing Guidelines Manual §

2B1.1(b)(2)(A)(i) is applicable to the offense level for the offenses charged in the Information.
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      19.      The parties agree to recommend to the sentencing court that, because the offenses

involved sophisticated means, a two-level increase under Sentencing Guidelines Manual §

2B1.1(b)(10)(C) is applicable to the offense level for the offenses charged in the Information.

      20.      The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the

defendant exhibits conduct consistent with the acceptance of responsibility. The defendant

acknowledges, understands, and agrees that conduct consistent with the acceptance of

responsibility includes but is not limited to the defendant's voluntary identification and

disclosure to the government of any and all actual or potential victims of the offenses prior to

sentencing. In addition, if the court determines at the time of sentencing that the defendant is

entitled to the two-level reduction under § 3E1.1(a), the government agrees to make a motion

recommending an additional one-level decrease as authorized by Sentencing Guidelines Manual

§ 3E1.1(b) because the defendant timely notified authorities of his intention to enter a plea of

guilty.

                                 Sentencing Recommendations

      21.      Both parties reserve the right to provide the district court and the probation office

with any and all information which might be pertinent to the sentencing process, including but

not limited to any and all conduct related to the offense as well as any and all matters which

might constitute aggravating or mitigating sentencing factors.

      22.      Both parties reserve the right to make any recommendation regarding any other

matters not specifically addressed by this agreement.

      23.      The government agrees to recommend that a sentence be imposed no greater than

the bottom of the applicable sentencing guidelines range.



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                              Court's Determinations at Sentencing

      24.      The parties acknowledge, understand, and agree that neither the sentencing court

nor the United States Probation Office is a party to or bound by this agreement. The United

States Probation Office will make its own recommendations to the sentencing court. The

sentencing court will make its own determinations regarding any and all issues relating to the

imposition of sentence and may impose any sentence authorized by law up to the maximum

penalties set forth in paragraph 7 above. The parties further understand that the sentencing court

will be guided by the sentencing guidelines but will not be bound by the sentencing guidelines

and may impose a reasonable sentence above or below the calculated guideline range.

      25.      The parties acknowledge, understand, and agree that the defendant may not move

to withdraw the guilty plea solely as a result of the sentence imposed by the court.

                                    FINANCIAL MATTERS

      26.      The defendant acknowledges and understands that any and all financial

obligations imposed by the sentencing court are due and payable in full upon entry of the

judgment of conviction. The defendant further understands that any payment schedule imposed

by the sentencing court shall be the minimum the defendant is expected to pay and that the

government's collection of any and all court imposed financial obligations is not limited to the

payment schedule. The defendant agrees not to request any delay or stay in payment of any and

all financial obligations. If the defendant is incarcerated, the defendant agrees to participate in

the Bureau of Prisons' Inmate Financial Responsibility Program, regardless of whether the court

specifically directs participation or imposes a schedule of payments.

      27.      The defendant agrees to provide to the Financial Litigation Unit (FLU) of the

United States Attorney's Office, at least 30 days before sentencing, and also upon request of the

FLU during any period of probation or supervised release imposed by the court, a complete and
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sworn financial statement on a form provided by FLU and any documentation required by the

form.

                                          Special Assessment

        28.        The defendant agrees to pay the special assessment in the amount of $300 prior to

or at the time of sentencing.

                                               Restitution

        29.        The defendant agrees to pay restitution as ordered by the court. The government

will provide the victims' names and restitution amounts to the United States Probation Office

and the Court prior to sentencing in this matter. The defendant understands that because

restitution for the offenses is mandatory, the amount of restitution shall be imposed by the court

regardless of the defendant's financial resources. The defendant agrees to cooperate in efforts to

collect the restitution obligation. The defendant understands that imposition or payment of

restitution will not restrict or preclude the filing of any civil suit or administrative action.

                              DEFENDANT'S WAIVER OF RIGHTS

        30.        In entering this agreement, the defendant acknowledges and understands that he

surrenders any claims he may have raised in any pretrial motion, as well as certain rights which

include the following:

              a.      If the defendant persisted in a plea of not guilty to the charges against him, he
                      would be entitled to a speedy and public trial by a court or jury. The defendant
                      has a right to a jury trial. However, in order that the trial be conducted by the
                      judge sitting without a jury, the defendant, the government and the judge all
                      must agree that the trial be conducted by the judge without a jury.

              b.      If the trial is a jury trial, the jury would be composed of twelve citizens
                      selected at random. The defendant and his attorney would have a say in who
                      the jurors would be by removing prospective jurors for cause where actual
                      bias or other disqualification is shown, or without cause by exercising
                      peremptory challenges. The jury would have to agree unanimously before it
                      could return a verdict of guilty. The court would instruct the jury that the
                      defendant is presumed innocent until such time, if ever, as the government
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                     establishes guilt by competent evidence to the satisfaction of the jury beyond a
                     reasonable doubt.

             c.      If the trial is held by the judge without a jury, the judge would find the facts
                     and determine, after hearing all of the evidence, whether or not he was
                     persuaded of defendant's guilt beyond a reasonable doubt.

             d.      At such trial, whether by a judge or a jury, the government would be required
                     to present witnesses and other evidence against the defendant. The defendant
                     would be able to confront witnesses upon whose testimony the government is
                     relying to obtain a conviction and he would have the right to cross-examine
                     those witnesses. In turn the defendant could, but is not obligated to, present
                     witnesses and other evidence on his own behalf. The defendant would be
                     entitled to compulsory process to call witnesses.

             e.      At such trial, defendant would have a privilege against self-incrimination so
                     that he could decline to testify and no inference of guilt could be drawn from
                     his refusal to testify. If defendant desired to do so, he could testify on his own
                     behalf.

      3 1.        The defendant acknowledges and understands that by pleading guilty he is

waiving all the rights set forth above. The defendant further acknowledges the fact that his

attorney has explained these rights to him and the consequences of his waiver of these rights.

The defendant further acknowledges that as a part of the guilty plea hearing, the court may

question the defendant under oath, on the record, and in the presence of counsel about the

offense to which the defendant intends to plead guilty. The defendant further understands that the

defendant's answers may later be used against the defendant in a prosecution for perjury or false

statement.

      32.         The defendant acknowledges and understands that he will be adjudicated guilty of

the offenses to which he will plead guilty and thereby may be deprived of certain rights,

including but not limited to the right to vote, to hold public office, to serve on a jury, to possess

firearms, and to be employed by a federally insured financial institution.

      33.         The defendant knowingly and voluntarily waives all claims he may have based

upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth
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Amendment. The defendant agrees that any delay between the tiling of this agreement and the

entry of the defendant's guilty plea pursuant to this agreement constitutes excludable time under

the Speedy Trial Act.

                             Further Civil or Administrative Action

      34.      The defendant acknowledges, understands, and agrees that the defendant has

discussed with his attorney and understands that nothing contained in this agreement, including

any attachment, is meant to limit the rights and authority of the United States of America or any

other state or local government to take further civil, administrative, or regulatory action against

the defendant, including but not limited to any listing and debarment proceedings to restrict

rights and opportunities of the defendant to contract with or receive assistance, loans, and

benefits from United States government agencies.

                                      GENERAL MATTERS

      35.      The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.

      36.      The parties acknowledge, understand, and agree that the United States Attorney's

office is free to notify any local, state, or federal agency of the defendant's conviction.

      37.      The defendant understands that pursuant to the Victim and Witness Protection

Act, the Justice for All Act, and regulations promulgated thereto by the Attorney General of the

United States, the victim of a crime may make a statement describing the impact of the offense

on the victim and further may make a recommendation regarding the sentence to be imposed.

The defendant acknowledges and understands that comments and recommendations by a victim

may be different from those of the parties to this agreement.



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              EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT

      38.       The defendant acknowledges and understands if he violates any term of this

agreement at any time, engages in any further criminal activity prior to sentencing, or fails to

appear for sentencing, this agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government's

agreement to dismiss any charge is conditional upon final resolution of this matter. If this plea

agreement is revoked or if the defendant's conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges which were not filed because of this agreement. The defendant hereby knowingly and

voluntarily waives any defense based on the applicable statute of limitations for any charges filed

against the defendant as a result of his breach of this agreement. The defendant understands,

however, that the government may elect to proceed with the guilty plea and sentencing. If the

defendant and his attorney have signed a proffer letter in connection with this case, then the

defendant further acknowledges and understands that he continues to be subject to the terms of

the proffer letter.

                       VOLUNTARINESS OF DEFENDANT'S PLEA

      39.       The defendant acknowledges, understands, and agrees that he will plead guilty

freely and voluntarily because he is in fact guilty. The defendant further acknowledges and

agrees that no threats, promises, representations, or other inducements have been made, nor

agreements reached, other than those set forth in this agreement, to induce the defendant to plead

guilty.




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                                    ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I am not now
on or under the influence of any drug, medication, alcohol, or other intoxicant or depressant,
whether or not prescribed by a physician, which would impair my ability to understand the terms
and conditions of this agreement. My attorney has reviewed every part of this agreement with me
and has advised me of the implications of the sentencing guidelines. I have discussed all aspects
of this case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.



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                                             BLESSING EGBON
                                             Defendant


I am the defendant's attorney. I carefully have reviewed every part of this agreement with the
defendant. To my knowledge, my client's decision to enter into this agreement is an informed
and voluntary one.



Date:           (

                                             MICHE        L. JACOBS
                                             Attorney   r Defendant


For the United States of America:



Date:
                                        ft" United
                                            RICHA      G. FROHLIN
                                                   States Attorney
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Date: 2 ,/,2726n
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                                             Assistant United States Attorney




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                                           ATTACHMENT A

                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,                              Case No. 22-CR-

       v.                                                             [18 U.S.C. § 1343]

BLESSING K. EGBON,

                              Defendant.


                                           INFORMATION


                                  COUNTS ONE THROUGH THREE

       THE UNITED STATES ATTORNEY CHARGES THAT:

       1.     Beginning by approximately August of 2018, and continuing through at least July of

2020, in the State and Eastern District of Wisconsin and elsewhere,

                                      BLESSING K. EGBON,

with intent to defraud, knowingly devised and executed a scheme to defraud investors and potential

investors and to obtain money by means of materially false and fraudulent pretenses and

representations, and knowingly caused wire communications to be transmitted in interstate

commerce for the purpose of executing the scheme.

                                             Background

       2.     At all times relevant to this Inforniation:

              a.      Blessing Egbon was the founder, the Chief Executive Officer, and the
                      Chairman of the Board of Directors of Exit 7c, Inc. (Exit 7c).

              b.      Exit 7c, which formerly had been known as Coop Fuel, was a corporation
                      registered in the State of Delaware and headquartered in Milwaukee,
                      Wisconsin.

              c.      Exit 7c was in the business of selling both bulk fuel and onsite fuel and
                      maintenance services to trucking companies, rental car agencies, and other

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                       transportation companies that operated fleets of vehicles.

                                          The Scheme to Defraud

        3.      Beginning by approximately August 2018, Egbon solicited potential investors and

induced them to invest in Exit 7c based on materially false and fraudulent pretenses and

representations. As a result, Egbon obtained in excess of $6 million from eleven investors, as

reflected in the table below.


                          August 1, 2018           INVESTOR #1                  $   200,000.00
                         August 10, 2018           INVESTOR #2                  $    75,000.00
                         August 20, 2018           INVESTOR #3                  $    50,000.00
                         August 22, 2018           INVESTOR #4                  $    50,000.00
                         August 23, 2018           INVESTOR #5                  $   100,000.00
                         August 29, 2018           INVESTOR #6                  $    50,000.00
                       September 11, 2018          INVESTOR #7                  $    50,000.00
                       September 11, 2018          INVESTOR #8                  $   100,000.00
                       September 25, 2018          INVESTOR #9                  $   100,000.00
                           June 6, 2019            INVESTOR #10                 $   500,000.53
                          March 18, 2020           INVESTOR #11                 $ 4,999,998.39
                                                                       Total:   $ 6,274,998.92


        4.     In soliciting these investments, Egbon knowingly and intentionally made materially

false statements and representations about, among other things, the nature and extent of his prior

business and entrepreneurial experience. Egbon claimed to have been involved with certain business

entities when, in reality, the entities were entirely fictitious. In other instances, Egbon exaggerated

the role that he had played in businesses that did exist.

        5.     Egbon also made materially false representations and statements to investors and

potential investors regarding Exit 7c's revenue, profits, growth, volume of business, and overall

financial performance. Egbon supported those misrepresentations and false statements with false

and fraudulent documents, including profit-and-loss statements, balance sheets, income statements,

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tax documents, and bank statements. Egbon provided such documents to investors and potential

investors knowing and intending that they would rely on the false information when making their

investment decisions.

         6.      Egbon regularly and repeatedly reported false monthly revenue figures to investors

and potential investors. He falsely represented that, for the sixteen-month period from September of

2018 through December of 2019, Exit 7c had total sales revenue of more than $91 million. In fact,

Exit 7c's total sales revenue for that period was approximately $348,562. A partial summary of

Egbon's misrepresentations and false statements regarding Exit 7c's revenue is provided in the table

below.

                                                 Sales Revenue by Month
                                     Representation Exit 7c Internal       Exit 7c Bank
                                      to Investors   Accounting              Records
                     September        $    4,443,958   $     22,560    $          1,968
                      October         $    4,729,375   $     23,176    $         30,696
         2018
                     November         $    4,939,024   $     25,274    $         27,228
                     December         $    5,067,228   $     20,653    $         20,030
                      January         $    5,466,260   $     34,223    $         28,724
                      February        $    5,518,765   $     19,150    $         15,702
                       March          $    5,521,167   $     14,617    $         20,868
                        April         $    5,874,178   $     13,213    $         37,367
                        May           $    5,925,678   $     13,986    $         18,893
                        June          $    6,122,189   $     12,118    $         10,986
          2019
                        July          $    6,128,157   $     16,400    $         14,914
                       August         $    6,132,752   $     28,309    $         11,566
                     September        $    6,365,140   $     34,077    $         19,378
                      October         $    6,244,595   $     37,126    $         34,113
                     November         $    6,280,053   $     19,994    $         33,869
                     December         $    6,281,328   $     13,686    $         16,947
                                      $   91,039,847   $    348,562    $        343,249


         7.      Egbon also made material misrepresentations to investors and potential investors

regarding his past, present, and future use of investor funds. In or about October of 2019, Egbon


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falsely claimed to investors and potential investors that Exit 7c was acquiring seven different

operational businesses. Egbon identified the businesses by name, listed false revenue, profit, and

other financial information for the businesses, and laid out the terms of purportedly accepted offers.

The businesses in fact had not agreed to the acquisition terms listed by Egbon, and were unaware

that he was misrepresenting their financial information to potential investors. Egbon never acquired

any of the businesses that he claimed he had. In fact, at the times he represented that he had

acquired the businesses, Egbon and Exit 7c did not have sufficient funds to have satisfied the

purported purchase terms.

       8.      In or about November of 2019, Egbon falsely represented to current and potential

future investors that he would use new investor money to make the following purchases:


                                       Purchase             Cost

                                 60 Oil Change Vans     $    723,900
                                 90 Car Wash Vans       $   1,057,500
                                 24 Bulk Fuel Trucks    $   1,320,000
                                                        $   3,101,400


Egbon never made any of those purchases.

       9.      In addition to specific false representations that he made regarding the use of

investor money, Egbon also represented more generally that he would use newly invested money

"to expand capabilities within existing markets, further develop technology capabilities, hire key

management team members, and for general working capital purposes and general corporate

expenses."

       10.     Rather than use investor money for these legitimate business purposes, as he had

represented to investors and potential investors that he would, Egbon instead used the fraudulently

obtained funds largely for personal purposes, including visits to luxury nightclubs, flights on private

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chartered jets, villa rentals, and payments to himself.

           11.      Among Egbon's personal expenditures of investor money were those set forth in the

table below:

 ' - --,      -- —       - ------ r -i i- -L.t7   ;-!------ -.--                 d.t7i 1,,-__ --   '- r:-..-.--a -i-   -
 November 5, 2018 TAO CHICAGO                       CHICAGO, IL      NIGHTCLUB AND RESTAURANT       $      16,491
 November 13, 2018 TAO CHICAGO                      CHICAGO, IL      NIGHTCLUB AND RESTAURANT       $      14,188
   August 5, 2019       TAO CHICAGO                 CHICAGO, IL      NIGHTCLUB AND RESTAURANT       $      13,996
  August 12, 2019       TAO CHICAGO                 CHICAGO, IL      NIGHTCLUB AND RESTAURANT       $      10,764
September 16, 2019 XS - ENCORE                      LAS VEGAS, NV    NIGHTCLUB AND RESTAURANT       $      11,411
   March 24, 2020       SENTI ENTJ ET CHARTER                        PRIVATE JET CHARTER            $      26,095
    April 6, 2020       LA CASA CON VISTA           SCOTTSDALE, AZ   RENTAL VILLAS                  $      22,500
    April 9,2020        XO GLOBAL LLC                                PRIVATE JET CHARTER            $      24,950
   April 21, 2020       LA CASA CON VISTA           SCOTTSDALE, AZ   RENTAL VILLAS                  $      20,000


                                              Execution of the Scheme

           12.      On or about the dates listed below, for the purpose of executing the above-described

scheme to defraud, and attempting to do so, in the State and Eastern District of Wisconsin and

elsewhere, Egbon caused the following wire communications to be transmitted in interstate

commerce:

    Count                 Date                                              Description
                                           Email from Egbon to investors and potential investors, in which Egbon
                       October 15
     One                          ,        falsely represented that Exit 7c had $6.36 million in gross revenue in
                          2019
                                           September 2019.
                                           Email from Egbon to investors and potential investors, in which Egbon
                       October 23
     Two                          ,        falsely represented that he had purchased seven specifically identified
                          2019
                                           businesses.
                                           Email from Egbon to Investor #11, in which Egbon falsely represented
    Three             June 25, 2020        that Exit 7c had $13,739,277.44 in cash on-hand as of the end of May
                                           2020.

           All in violation of Title 18, United States Code, Section 1343.


                                                            RICHARD G. FROHLING
                                                            United States Attorney

                                                            Date




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                                       ATTACHMENT B

                                           Background

       Blessing Egbon founded Exit 7c, Inc., in 2017. He registered the business as a

corporation in Delaware and headquartered it in Milwaukee, Wisconsin. Through Exit 7c and its

predecessor company, Co-op Fuel, Inc., Egbon was in the business of selling both bulk fuel and

onsite fuel and maintenance services to trucking companies, rental car agencies, and other

transportation companies that operated fleets of vehicles.

       Egbon was both Chief Executive Officer and Chairman of the Board of Directors of Exit

7c, beginning with his founding of the company in 2017 and continuing until July of 2020. In

those various roles, Egbon had a number of responsibilities, including managing Exit 7c' s

finances, soliciting new investors, and keeping investors and the Board of Directors informed as

to the company's operations and financial performance. Egbon also was the only person

authorized to write checks and otherwise make payments from Exit 7c's bank accounts.

                                     Egbon's Fraud Scheme

       By no later than August of 2018, Egbon had devised and was executing a fraud scheme in

which he repeatedly made materially false and fraudulent statements and representations to

existing investors and potential new investors as to (1) his background, experience, and

qualifications; (2) the performance and financial health of Exit 7c; and (3) how investor money

would be used. Egbon intended these false statements to deceive investors and potential

investors and to cause them to make new investments or to maintain existing investments.

       Egbon obtained a total of at least $6,274,998.92 from those victim investors, as reflected

in the table below.




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                  August 1,2018            INVESTOR #1                 $   200,000.00
                 August 10, 2018           INVESTOR #2                 $    75,000.00
                 August 20, 2018           INVESTOR #3                 $    50,000.00
                 August 22, 2018           INVESTOR #4                 $    50,000.00
                 August 23, 2018           INVESTOR #5                 $   100,000.00
                 August 29, 2018           INVESTOR #6                 $    50,000.00
               September 11, 2018          INVESTOR #7                 $    50,000.00
               September 11, 2018          INVESTOR #8                 $   100,000.00
               September 25, 2018          INVESTOR #9                 $   100,000.00
                   June 6, 2019            INVESTOR #10                $   500,000.53
                 March 18, 2020            INVESTOR #11                $ 4,999,998.39
                                                              Total:   $ 6,274,998.92

                     Materially False and Fraudulent Pretenses and Representations

       I. Materially false representations regarding Egbon 's background and experience

       Some of Egbon's materially false statements related to his background and experience.

Egbon falsely claimed to have been involved with certain businesses which, in reality, were

entirely fictitious. He also exaggerated the role that he had played in certain businesses that did

exist. Egbon intended his falsely padded resume to deceive investors and potential investors and

to cause them to make investments in Exit 7c.

       2. Materially false representations regarding Exist 7c 's finances and performance

       Egbon also made materially false and fraudulent statements and representations regarding

Exit 7c's financial health and performance. Egbon made extensive use of altered and otherwise

false and fraudulent documents to further this aspect of his scheme. Among those documents

were doctored bank statements, false financial statements, and false tax documents.

       Egbon made false monthly reports to investors and potential investors regarding Exit 7c's

sales revenue. For example, on July 7, 2019, in an interstate wire communication — specifically,

an email to investors and potential investors, Egbon falsely represented that Exit 7c had more

                                                 2

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than $6.1 million in sales revenue in June 2019. Exit 7c's own internal accounting showed only

$12,118 in sales revenue that month, and the company's bank records reflected only $10,986.

Similarly, on October 15, 2019, in an interstate wire communication — specifically, an email to

investors and potential investors — Egbon falsely represented that Exit 7c had more than $6.3

million in sales revenue in September 2019. Exit 7c's own internal accounting showed only

$34,077 in sales revenue that month, and its bank records reflected only $19,378.

       During the course of his fraud scheme, Egbon represented to investors and potential

investors that, for the sixteen-month period from September of 2018 through December of 2019,

Exit 7c had total sales revenue of more than $91 million. In fact, Exit 7c's total sales revenue for

that period was between $343,249 and $348,562, more than $90 million short of what Egbon had

falsely represented. A partial summary of Egon's materially false representations and pretenses

regarding Exit 7c's revenue is provided in the table below.




                                                 3

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                                                     Sales Revenue by Month
                                        Representation Exit 7c Internal       Exit 7c Bank
                                         to Investors   Accounting             Records
                      September         $    4,443, 958   $      22,560   $          1,968
                        October         $    4,729,375    $      23,176   $         30,696
           2018
                      November          $    4,939,024    $      25,274   $         27,228
                       December         $    5,067,228    $      20,653   $         20,030
                        January         $    5,466,260    $      34,223   $         28,724
                       February         $    5,518,765    $      19,150   $         15,702
                         March          $    5,521,167    $      14,617   $         20,868
                         April          $    5,874,178    $      13,213   $         37,367
                         May            $    5,925,678    $      13,986   $         18,893
                         June           $    6,122,189    $      12,118   $         10,986
           2019
                          July          $    6,128,157    $      16,400   $         14,914
                        August          $    6,132,752    $      28,309   $         11,566
                      September         $    6,365,140    $      34,077   $         19,378
                        October         $    6,244,595    $      37,126   $         34,113
                       November         $    6,280,053    $      19,994   $         33,869
                       December         $    6,281,328    $      13,686   $         16,947
                                        $   91,039,847    $     348,562   $        343,249



       3. Materially false representations and pretenses regarding use of investor funds

       Egbon made materially false representations to investors and potential investors

regarding his past, present, and future use of investor funds. For example, in an October 23,

2019, interstate wire communication - specifically, an email to investors and potential investors

- Egbon falsely represented that Exit 7c was acquiring seven different operational businesses.

Egbon not only identified the businesses by name, but he also provided investors with false

revenue, profit, and other financial information for the businesses and laid out the terms of offers

that he represented had been accepted. The businesses in fact had not agreed to the terms as

Egbon had represented they had, and Egbon never acquired any of the businesses. Egbon did not

have the funds available to have satisfied the purchase terms he identified.




                                                 4

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               In November 2019, Egbon falsely represented to current and potential investors that he

would use new investor money to make the following purchases, among others:


                                                   Purchase               Cost

                                             60011 Change Vans      $      723,900
                                             90 Car Wash Vans       $     1,057,500
                                             24 Bulk Fuel Trucks    $     1,320,000
                                                                    $     3,101,400


Egbon never made any of those purchases.

               In addition to these and other specific false representations that he made regarding the use

of investor funds, Egbon also represented more generally that he would use newly invested

money "to expand capabilities within existing markets, further develop technology capabilities,

hire key management team members, and for general working capital purposes and general

corporate expenses."

               Rather than use investor money for these legitimate purposes, as he had represented to

investors and potential investors that he would, Egbon instead used the fraudulently obtained

funds largely for personal purposes, including visits to luxury nightclubs, flights on private

chartered jets, villa rentals, and payments to himself. Among Egbon's personal expenditures of

investor money were the following:

-     4 ''--       -.- -   :   Yikta 7stv
                                       *    Wifetft- ':::;ti14ftiittf:ftaA-4-7irivr' 1. 1-.' .,_,   -44A-tifoitilt,
    November 5, 2018 TAO CHICAGO                          CHICAGO, IL       NIGHTCLUB AND RESTAURANT   $   16,491
    November 13, 2018 TAO CHICAGO                        CHICAGO, IL        NIGHTCLUB AND RESTAURANT   $   14,188
  August 5, 2019   TAO CHICAGO                            CHICAGO, IL       NIGHTCLUB AND RESTAURANT   $   13,996
  August 12, 2019 TAO CHICAGO                             CHICAGO, IL       NIGHTCLUB AND RESTAURANT   $   10,764
September 16, 2019 XS - ENCORE                            LAS VEGAS, NV     NIGHTCLUB AND RESTAURANT   $   11,411
     March 24, 2020            SENTIENTJET CHARTER                          PRIVATE JET CHARTER        $   26,095
      April 6, 2020            LA CASA CON VISTA         SCOTTSDALE, AZ     RENTAL VILLAS              $   22,500
      April 9,2020             XO GLOBAL LLC                                PRIVATE JET CHARTER        $   24,950
      April 21, 2020           LA CASA CON VISTA         SCOTTSDALE, AZ     RENTAL VILLAS              $    20,000




                                                                5


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       Egbon regularly caused wire communications to be transmitted in interstate commerce

for the purpose of executing his fraud scheme in the State and Eastern District of Wisconsin and

elsewhere. Among those interstate wire communications were the following:

   Count             Date                                          Description
                                  Email from Egbon to investors and potential investors, in which Egbon
                  October 15,
     One                          falsely represented that Exit 7c had $6.36 million in gross revenue in
                     2019
                                  September 2019.
                                  Email from Egbon to investors and potential investors, in which Egbon
                  October 23,
     Two                          falsely represented that he had purchased seven specifically identified
                     2019
                                  businesses.
                                  Email from Egbon to Investor #11, in which Egbon falsely represented
    Three        June 25, 2020    that Exit 7c had $13,739,277.44 in cash on-hand as of the end of May
                                  2020.




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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,                              Case No. 22-CR-

       v.                                                             [18 U.S.C. § 1343]

BLESSING K. EGBON,

                              Defendant.


                                           INFORMATION


                              COUNTS ONE THROUGH THREE

       THE UNITED STATES ATTORNEY CHARGES THAT:

       1.      Beginning by approximately August of 2018, and continuing through at least July of

2020, in the State and Eastern District of Wisconsin and elsewhere,

                                     BLESSING K. EGBON,

with intent to defraud, knowingly devised and executed a scheme to defraud investors and potential

investors and to obtain money by means of materially false and fraudulent pretenses and

representations, and knowingly caused wire communications to be transmitted in interstate

commerce for the purpose of executing the scheme.

                                             Background

       2.     At all times relevant to this Information:

              a.      Blessing Egbon was the founder, the Chief Executive Officer, and the
                      Chairman of the Board of Directors of Exit 7c, Inc. (Exit 7c).

              b.      Exit 7c, which formerly had been known as Coop Fuel, was a corporation
                      registered in the State of Delaware and headquartered in Milwaukee,
                      Wisconsin.

              c.      Exit 7c was in the business of selling both bulk fuel and onsite fuel and
                      maintenance services to trucking companies, rental car agencies, and other

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                        transportation companies that operated fleets of vehicles.

                                          The Scheme to Defraud

        3.      Beginning by approximately August 2018, Egbon solicited potential investors and

induced them to invest in Exit 7c based on materially false and fraudulent pretenses and

representations. As a result, Egbon obtained in excess of $6 million from eleven investors, as

reflected in the table below.
                                                  .

                          August 1, 2018              INVESTOR #1              $   200,000.00
                         August 10, 2018              INVESTOR #2              $    75,000.00
                         August 20, 2018              INVESTOR #3              $    50,000.00
                         August 22, 2018              INVESTOR #4              $    50,000.00
                         August 23, 2018              INVESTOR #5             $    100,000.00
                         August 29, 2018              INVESTOR #6             $     50,000.00
                       September 11, 2018             INVESTOR #7             $     50,000.00
                       September 11, 2018             INVESTOR #8             $    100,000.00
                       September 25, 2018             INVESTOR #9             $    100,000.00
                           June 6, 2019               INVESTOR #10            $    500,000.53
                          March 18, 2020              INVESTOR #11            $ 4,999,998.39
                                                                       Total: $ 6,274,998.92


       4.      In soliciting these investments, Egbon knowingly and intentionally made materially

false statements and representations about, among other things, the nature and extent of his prior

business and entrepreneurial experience. Egbon claimed to have been involved with certain business

entities when, in reality, the entities were entirely fictitious. In other instances, Egbon exaggerated

the role that he had played in businesses that did exist.

       5.      Egbon also made materially false representations and statements to investors and

potential investors regarding Exit 7c's revenue, profits, growth, volume of business, and overall

financial performance. Egbon supported those misrepresentations and false statements with false

and fraudulent documents, including profit-and-loss statements, balance sheets, income statements,

                                                      2




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tax documents, and bank statements. Egbon provided such documents to investors and potential

investors knowing and intending that they would rely on the false information when making their

investment decisions.

         6.     Egbon regularly and repeatedly reported false monthly revenue figures to investors

and potential investors. He falsely represented that, for the sixteen-month period from September of

2018 through December of 2019, Exit 7c had total sales revenue of more than $91 million. In fact,

Exit 7c's total sales revenue for that period was approximately $348,562. A partial summary of

Egbon's misrepresentations and false statements regarding Exit 7c's revenue is provided in the table

below.


                                    Representation Exit 7c Internal               Exit 7c Bank
                                         to Investors           Accounting          Records
                    September        $      4,443,958       $        22,560   $          1,968
                     October         $      4,729,375       $        23,176   $         30,696
         2018
                    November         $      4,939,024       $        25,274   $         27,228
                    December         $      5,067,228       $        20,653   $         20,030
                     January         $      5,466,260       $        34,223   $         28,724
                     February        $      5,518,765       $        19,150   $         15,702
                      March          $      5,521,167       $        14,617   $         20,868
                        April        $      5,874,178       $        13,213   $         37,367
                        May          $      5,925,678       $        13,986   $         18,893
                        June         $      6,122,189       $        12,118   $         10,986
         2019
                        July         $      6,128,157       $        16,400   $         14,914
                      August         $      6,132,752       $        28,309   $         11,566
                    September        $      6,365,140       $        34,077   $         19,378
                     October         $      6,244,595       $        37,126   $         34,113
                    November         $      6,280,053       $        19,994   $         33,869
                    December         $      6,281,328       $        13,686   $         16,947
                                     $     91,039,847       $       348,562   $        343,249


         7.     Egbon also made material misrepresentations to investors and potential investors

regarding his past, present, and future use of investor funds. In or about October of 2019, Egbon


                                                        3




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falsely claimed to investors and potential investors that Exit 7c was acquiring seven different

operational businesses. Egbon identified the businesses by name, listed false revenue, profit, and

other financial information for the businesses, and laid out the terms of purportedly accepted offers.

The businesses in fact had not agreed to the acquisition terms listed by Egbon, and were unaware

that he was misrepresenting their financial information to potential investors. Egbon never acquired

any of the businesses that he claimed he had. In fact, at the times he represented that he had

acquired the businesses, Egbon and Exit 7c did not have sufficient funds to have satisfied the

purported purchase terms.

       8.      In or about November of 2019, Egbon falsely represented to current and potential

future investors that he would use new investor money to make the following purchases:

                                       Purchase             Cost

                                 60 Oil Change Vans
                                 90 Car Wash Vans
                                 24 Bulk Fuel Trucks
                                                           3,101,400


Egbon never made any of those purchases.

       9.      In addition to specific false representations that he made regarding the use of

investor money, Egbon also represented more generally that he would use newly invested money

"to expand capabilities within existing markets, further develop technology capabilities, hire key

management team members, and for general working capital purposes and general corporate

expenses."

       10.     Rather than use investor money for these legitimate business purposes, as he had

represented to investors and potential investors that he would, Egbon instead used the fraudulently

obtained funds largely for personal purposes, including visits to luxury nightclubs, flights on private

                                                    4




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chartered jets, villa rentals, and payments to himself.

        11.         Among Egbon's personal expenditures of investor money were those set forth in the

table below:

                                                                                              WM:140
 November 5, 2018 TAO CHICAGO                     CHICAGO, IL      NIGHTCLUB AND RESTAURANT   $   16,491
 November 13, 2018 TAO CHICAGO                    CHICAGO, IL      NIGHTCLUB AND RESTAURANT   $   14,188
   August 5, 2019      TAO CHICAGO                CHICAGO, IL      NIGHTCLUB AND RESTAURANT   $   13,996
  August 12, 2019      TAO CHICAGO                CHICAGO, IL      NIGHTCLUB AND RESTAURANT   $   10,764
September 16, 2019 XS - ENCORE                    LAS VEGAS, NV    NIGHTCLUB AND RESTAURANT   $   11,411
   March 24, 2020      SENTIENTJET CHARTER                         PRIVATE JET CHARTER        $   26,095
    April 6, 2020       LA CASA CON VISTA         SCOTTSDALE, AZ   RENTAL VILLAS              $   22,500
    April 9, 2020      XO GLOBAL LLC                               PRIVATE JET CHARTER        $   24,950
   April 21, 2020       LA CASA CON VISTA         SCOTTSDALE, AZ   RENTAL VILLAS              $   20,000


                                            Execution of the Scheme

        12.     On or about the dates listed below, for the purpose of executing the above-described

scheme to defraud, and attempting to do so, in the State and Eastern District of Wisconsin and

elsewhere, Egbon caused the following wire communications to be transmitted in interstate

commerce:

   Count                  Date                                          Description
                                       Email from Egbon to investors and potential investors, in which Egbon
                      October 15,
     One                               falsely represented that Exit 7c had $6.36 million in gross revenue in
                         2019
                                       September 2019.
                                       Email from Egbon to investors and potential investors, in which Egbon
                      October 23,
     Two                               falsely represented that he had purchased seven specifically identified
                         2019
                                       businesses.
                                       Email from Egbon to Investor #11, in which Egbon falsely represented
    Three            June 25, 2020     that Exit 7c had $13,739,277.44 in cash on-hand as of the end of May
                                       2020.

       All in violation of Title 18, United States Code, Section 1343.


                                                         RICHARD G. FROHLING
                                                         United States Attorney

                                                         Date




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